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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                    :
 UNITED STATES OF AMERICA                           :
                                                    :          CRIMINAL ACTION
                v.                                  :
                                                    :          NO. 14-574
 DEVOS LTD. d/b/a GUARANTEED                        :
 RETURNS, et al.                                    :

                                              ORDER

        AND NOW, this __9th__ day of November, 2017, upon consideration of the

Government’s letter to the Court, dated November 9, 2017, requesting an extension of time to

file a reply brief in support of the Government’s Motions for Preliminary Order of Forfeiture and

Forfeiture Money Judgment (Docs. 336, 337, and 338), IT IS HEREBY ORDERED AND

DECREED that the Government’s request is GRANTED and the Government shall file its

reply brief, if any, at least thirty (30) days before the sentencing date for the Defendants in this

case.




                                                              BY THE COURT:

                                                              /s/ Petrese B. Tucker
                                                              ____________________________
                                                              Hon. Petrese B. Tucker, U.S.D.J.
